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                          EXHIBIT 1
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From: Kevin Polansky <kevin.polansky@nelsonmullins.com>
Sent: Monday, March 8, 2021 12:44 PM
To: Troutman, Eric J. <eric.troutman@squirepb.com>; Anthony Paronich <anthony@paronichlaw.com>; Christine
Kingston <christine.kingston@nelsonmullins.com>
Cc: Ted Broderick <ted@broderick-law.com>; Matthew McCue <mmccue@massattorneys.net>; Quinn, Meghan
<meghan.quinn@squirepb.com>
Subject: RE: Mantha v. Quotewizard

Eric,

Thanks for clarifying the communications below. At this point, to avoid confusion based upon a statement made in my
affidavit, I plan to file a short supplement attaching this email string so that the Court is aware of Anthony and Eric’s
respective position as to what was discussed on their call.

Our supplement will be limited to that discrete issue.

Thanks,

Kevin




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N E L S O NM U L LI N S. C OM                 V CA R D VI EW BIO




From: Troutman, Eric J. <eric.troutman@squirepb.com>
Sent: Monday, March 8, 2021 12:22 PM
To: Kevin Polansky <kevin.polansky@nelsonmullins.com>; Anthony Paronich <anthony@paronichlaw.com>; Christine
Kingston <christine.kingston@nelsonmullins.com>
Cc: Ted Broderick <ted@broderick-law.com>; Matthew McCue <mmccue@massattorneys.net>; Quinn, Meghan
<meghan.quinn@squirepb.com>
Subject: RE: Mantha v. Quotewizard

Hi folks

Anthony’s email below is correct. I don’t think I said anything different to Kevin and if I did it was an error.

But let me flesh this out a bit so everyone has the full context and end the game of telephone here.
                                                                           1
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As I relayed to Kevin on our call, I spoke to Anthony because I was concerned Drips would need to file a miscellaneous
proceeding in Ohio to seek protection of the Court’s order compelling QuoteWizard’s production—an order that seemed
to turn on a faulty premise, i.e. that the subject records are within QW’s possession or control. And an order that did not
account for Drips’ burden or jurisdictional objections.

Anthony agreed with my read that the order did not directly compel Drips to produce records, although he expressed no
opinion as to whether Drips might otherwise be responsible to produce records on QW’s demand and suggested that
Drips should invoice QW for the attendant expense. I explained that the burden was simply too great on Drips for it to
shut down portions of its regular operations to deploy the developer time necessary to produce records, even if it was
eventually compensated for its time.

In my call with Kevin I explained that Drips would not be immediately seeking a protective order given that Anthony
confirmed my read of the order. I did not intend to suggest, however, that Drips was refusing to produce records on that
basis. Rather I informed Kevin—as I did Anthony—that the burden attendant the production was very high and that
Drips was unwilling to undertake that burden.

I also advised Kevin that I had personally reviewed the pertinent agreements and found no basis for QuoteWizard to
contend that the subject records had to be produced by Drips on QW’s demand. I asked him whether QuoteWizard had
a different position on the contract terms. To date I have not heard back.

I view this situation as highly unusual and difficult to navigate. QuoteWizard has been ordered to produce records that,
as far as I can tell, are simply not in its possession or control. Drips, the third-party in possession of the records, does not
want to raise the Massachusetts Court’s ire—or put QuoteWizard in an difficult position— by refusing to produce
records, yet the burden here really is inescapably high.

Happy to discuss further.
                                     Eric J. Troutman
                                     Partner
                                     Squire Patton Boggs (US) LLP
                                     555 South Flower Street, 31st Floor
                                     Los Angeles, California 90071
                                     T +1 213 689 6510
                                     O +1 213 624 2500
                                     F +1 213 623 4581
                                     eric.troutman@squirepb.com | squirepattonboggs.com
                                     Do Better: tcpaworld.com




From: Kevin Polansky <kevin.polansky@nelsonmullins.com>
Sent: Monday, March 8, 2021 7:17 AM
To: Anthony Paronich <anthony@paronichlaw.com>; Christine Kingston <christine.kingston@nelsonmullins.com>
Cc: Ted Broderick <ted@broderick-law.com>; Matthew McCue <mmccue@massattorneys.net>; Troutman, Eric J.
<eric.troutman@squirepb.com>
Subject: [EXT] RE: Mantha v. Quotewizard

Anthony,

I’ll let Eric speak to that as that’s what he stated to me. I’m happy to jump on a call to discuss with both of you.

Kevin




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K E V I N PO L A NS K Y P ART N ER
k e v i n . p o l a n s k y @ n e l s o n m u l l i ns . c o m

O N E F IN A N CIA L CE NT E R | S U IT E 3 5 0 0
B O ST O N, M A 0 2 1 1 1
T 6 1 7 .2 1 7 .4 7 2 0       F 6 1 7 .2 1 7 .4 7 1 0

N E L S O NM U L LI N S. C OM                 V CA R D VI EW BIO




From: Anthony Paronich <anthony@paronichlaw.com>
Sent: Monday, March 8, 2021 10:05 AM
To: Christine Kingston <christine.kingston@nelsonmullins.com>; Kevin Polansky <kevin.polansky@nelsonmullins.com>
Cc: Ted Broderick <ted@broderick-law.com>; Matthew McCue <mmccue@massattorneys.net>; Troutman, Eric J.
<eric.troutman@squirepb.com>
Subject: Mantha v. Quotewizard

◄External Email► - From: anthony@paronichlaw.com

Kevin:

I take issue with the representation in the attached motion and affidavit that I informed Eric that “Plaintiff did
not believe or take the position that the Order required Drips to produce the records to QuoteWizard. According
to Drips’s counsel, this stated position from Plaintiff’s counsel informed Drips’s continued refusal to produce
the records to QuoteWizard even after the issuance of ECF No. 144.”

I’ve copied Eric here so he can participate, but speaking for myself, my position was that simply that the Order
was directed to QuoteWizard and not Drips. I did not tell Eric that DRIPS did not have to produce. We have
been trying to get these records for a very long time.



Regards,

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Anthony Paronich
Paronich Law, P.C.
350 Lincoln Street, Suite 2400
Hingham, MA 02043
[o] (617) 485-0018
[c] (508) 221-1510
[f] (508) 318-8100
https://www.paronichlaw.com

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